Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 1 of 29




                                      
                                      
                      EXHIBIT E 
 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 2 of 29

                                                                      Service of Process
                                                                      Transmittal
                                                                      02/15/2019
                                                                      CT Log Number 534929010
TO:     L&R Home Office Intake Unit
        Allstate Insurance Company
        3075 Sanders Rd Ste G4A
        Northbrook, IL 60062-7119

RE:     Process Served in Texas

FOR:    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY  (Domestic State: IL)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                JOSE GARCIA, PLTF. vs. ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY, DFT.
DOCUMENT(S) SERVED:             Citation, Petition, Interrogatories, Attachment(s), Request
COURT/AGENCY:                   125th Judicial District Court Harris County, TX
                                Case # 201910551
NATURE OF ACTION:               Insurance Litigation
ON WHOM PROCESS WAS SERVED:     C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:       By Certified Mail on 02/15/2019 postmarked on 02/13/2019
JURISDICTION SERVED :           Texas
APPEARANCE OR ANSWER DUE:       By 10:00 a.m. on the Monday next following the expiration of 20 days after you
                                were served this citation and petition
ATTORNEY(S) / SENDER(S):        David Bergen
                                Daly & Black, P.C.
                                2211 Norfolk St., Suite 800
                                Houston, TX 77098
                                713-655-1405
ACTION ITEMS:                   CT has retained the current log, Retain Date: 02/15/2019, Expected Purge Date:
                                02/20/2019

                                Image SOP

                                Email Notification,  L&R Home Office Intake Unit
                                 LawSOPIntakeUnitCT@allstate.com

SIGNED:                         C T Corporation System
ADDRESS:                        1999 Bryan Street
                                Suite 900
                                Dallas, TX 75201
TELEPHONE:                      214-932-3601




                                                                      Page 1 of  1 / AZ
                                                                      Information displayed on this transmittal is for CT
                                                                      Corporation's record keeping purposes only and is provided to
                                                                      the recipient for quick reference. This information does not
                                                                      constitute a legal opinion as to the nature of action, the
                                                                      amount of damages, the answer date, or any information
                                                                      contained in the documents themselves. Recipient is
                                                                      responsible for interpreting said documents and for taking
                                                                      appropriate action. Signatures on certified mail receipts
                                                                      confirm receipt of package only, not contents.
                                                         CERTIFIED MAIL
              Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 3 of 29             I
                                                                                                                  neoposcH              FIRST-CLASS MAIL
                                                                                                                  02/13/2019
    Marilyn Burgess                                                                                               USlgOSTAGE           $008.05-°
Harris County District Clerk
        P.O. Box 4651
 Houston, Texas 77210*4651                         7016 EES□ 0001 35E3 5S61                                        mm                     21P 77002
                                                                                                                                        041M12252396




                                                                           Allstate Vehicle and Property Insurance Company
                                                                                 By serving through its registered agent-'-vr;
                                                                                         CT Corporation System
                                                                                      1999 Bryan Street, Suite 900
                                                                                        Dallas, Texas 75201-3136
                                                                                                                      mr




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                                                               ■   ?   *         .
                   Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 4 of 29
                                                                                                                              m
V        t

                                              CAUSE NO.           201910551

                                              RECEIPT NO.                                             75.00         CTM
                                                          ■*• + + ***• + *•*•*■
                                                                                                      TR # 73591951
    PLAINTIFF-. GARCIA, JOSE                                                                In The   125th
            vs.                                                                             Judicial District Court
    DEFENDANT: ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                              of Harris County, Texas
                                                                                            125TH DISTRICT COURT
                                                                                            Houston, TX
                                             CITATION (CERTIFIED)
    THE STATE OF TEXAS
    County of Harris

    TO: ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY BY SERVING THROUGH
        ITS REGISTERED AGENT FOR SERVICE OF PROCESS IN THE STATE OF TEXAS
        CT CORPORATION SYSTEM

         1999      BRYAN STREET SUITE 900   DALLAS   TX       75201 - 3136
         Attached is a copy of PLAINTIFF'S ORIGINAL PETITION


    This instrument was filed on the 12th day of February. 2019. in the above cited cause number
    and court. The instrument attached describes the claim against you.

          YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
    written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
    next following the expiration of 20 days after you were served this citation and petition,
    a default judgment may be taken against you.
    TO OFFICER SERVING:
          This citation was issued on 12th day of February, 2019, under my hand and
    seal of said Court.




                                                o
    Issued at request of:                                                         MARILYN BURGESS, District Clerk
    BERGEN, DAVID LOREN JR.                                         l ~i          Harris County, Texas
                                                                  / x             201 Caroline, Houston, Texas 77002
    2211 NORFOLK STREET, SUITE 800
    HOUSTON, TX 77098                                                             (P.O. Box 4651, Houston, Texas 77210)
    Tel: (808) 445-7354
    Bar No.: 24097371                                                      Generated By: CUERO, NELSON        7MM//11158793


                                            CLERK'S RETURN BY MAILING
    Came to hand the          day of
                       ___________________________________________________ _________, and executed by
    mailing to Defendant certified mail, return receipt requested, restricted delivery, a true
    copy   of    this   citation     together      with    an    attached    copy     of
     PLAINTIFF'S ORIGINAL PETITION
    to the following addressee at address:


                                                      ADDRESS

                                                      Service was executed in accordance with Rule 106
    (a)ADDRESSEE                                         (2) TRCP, upon the Defendant as evidenced by the
                                                          return receipt incorporated herein and attached
                                                          hereto at


                                                      on       day of __________
                                                      by U.S. Postal delivery to


                                                      This citation was not executed for the following
                                                      reason:


                                                      MARILYN BURGESS, District Clerk
                                                      Harris County, TEXAS

                                                      By                                                        , Deputy




    N.INT.C1TM.P                                                           *73591951*
  Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 5 of 29
                                                                                                       2/12/2019 10:58 AM
                                                                             Marilyn Burgess - District Clerk HarrisCouitty 4
                                                                                                  Envelope No. 31120914
                          2019-10551 / Court: 125                                                         By: Nelson Cuero
                                                                                               Filed: 2/12/2019 10:58 AM

                                  CAUSE NO.

 JOSE GARCIA,                                         §       IN THE DISTRICT COURT OF
                                                      §
        Plaintiff,                                    §
                                                      §
 vs.                                                  §       HARRIS COUNTY, TEXAS
                                                      §
 ALLSTATE VEHICLE AND PROPERTY                        §
 INSURANCE COMPANY,                                   §
                                                      §                  JUDICIAL DISTRICT
        Defendant.                                    §

                            PLAINTIFFS ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Jose Garcia (“Mr. Garcia”), Plaintiff herein, flies this Original Petition against Defendant

Allstate Vehicle and Property Insurance Company (“Allstate”) and, in support of his causes of

action, would respectfully show the Court the following:

                                                 I.
                                         THE PARTIES

               Jose Garcia is a Texas resident who resides in Harris County, Texas.

       2.      Allstate is an insurance company doing business in the State of Texas which may

be served through its registered agent for service of process in the State of Texas, CT Corporation

System, via certified mail at 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

                                                n.
                                          DISCOVERY

       3.   ' This case is intended to be governed by Discovery Level 2.




                                                 1
  Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 6 of 29




                                               III.
                                        CLAIM FOR RELIEF


        4.      The damages sought are within the jurisdictional limits of this court. Plaintiff

currently seeks monetary relief over $100,000, but not more than $200,000, including damages of

any kind, penalties, costs, expenses, pre-judgment interest, and attorney’s fees.

                                             IV.
                                  JURISDICTION AND VENUE

        5.      This court has subject matter jurisdiction of this cause of action because it involves

an amount in controversy in excess of the minimum jurisdictional limits of this Court. No diversity

of citizenship exists in this matter.

        6.      Venue is proper in Harris County because all or a substantial part of the events or

omissions giving rise to the claim occurred in Harris County. Tex. Civ. PraC & REM CODE §

15.002(a)(1). In particular, the loss at issue occurred in Harris County.

                                             V.
                                    FACTUAL BACKGROUND

        7.      Mr. Garcia is a named insured under a property insurance policy issued by Allstate.

        8.      On or about August 25-29, 2017, Hurricane Harvey hit the Texas coast, which

included the Houston, Texas area, damaging Mr. Garcia’s house and other property. Mr. Garcia

subsequently filed a claim on his insurance policy.

        9.      Defendant improperly denied and/or underpaid the claim.

        10.     The adjuster assigned to the claim conducted a substandard investigation and

inspection of the property, prepared a report that failed to include all of the damages that were

observed during the inspection, and undervalued the damages observed during the inspection.

        11.     This unreasonable investigation led to the underpayment of Plaintiffs claim.




                                                  2
     Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 7 of 29




         12.     Moreover, Allstate performed an outcome-oriented investigation of Plaintiffs

claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiffs losses on the

property.

                                               VI.
                                        CAUSES OF ACTION

         13.     Each of the foregoing paragraphs is incorporated by reference in the following:’

A.      Breach of Contract

           14.   Allstate had a contract of insurance with Plaintiff. Allstate breached the terms of

that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged

thereby.

B.      Prompt Payment of Claims Statute

         15.     The failure of Allstate to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Section 542.051 el seq. of

the Texas Insurance Code.

         16.     Plaintiff, therefore, in addition to Plaintiffs claim for damages, is entitled to interest

and attorneys’ fees as set forth in Section 542.060 of the Texas Insurance Code.

C.       Bad Faith

           17.   Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

           18.   Defendant violated Section 541.051 of the Texas Insurance Code by:

                 (I)     making statements misrepresenting the terms and/or benefits of the policy.

           19.   Defendant violated Section 541.060 by:

                 (I)     misrepresenting to Plaintiff a material fact or policy provision relating to

                         coverage at issue;




                                                     3
   Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 8 of 29




              (2)     failing to attempt in good faith to effectuate a prompt, fair, and equitable

                      settlement of a claim with respect to which the insurer’s liability had

                      become reasonably clear;

              (3)     failing to promptly provide to Plaintiff a reasonable explanation of the basis

                      in the policy, in relation to the facts or applicable law, for the insurer’s

                      denial of a claim or offer of a compromise settlement of a claim;

              (4)     failing within a reasonable time to affirm or deny coverage of a claim to

                      Plaintiff or submit a reservation of rights to Plaintiff; and

              (5)     refusing to pay the claim without conducting a reasonable investigation with

                      respect to the claim;

       20.    Defendant violated Section 541.061 by:

              (1)     making an untrue statement of material fact; .

              (2)     failing to state a material fact necessary to make other statements made not

                      misleading considering the circumstances under which the statements were

                      made;

              (3)     making a statement in a manner that would mislead a reasonably prudent

                      person to a false conclusion of a material fact;

              (4)     making a material misstatement of law; and

              (5)     failing to disclose a matter required by law to be disclosed.

       21.    Defendant knowingly committed the acts complained of As such, Plaintiff' is

entitled to exemplary and/or treble damages pursuant to Texas Insurance Code Section 541.152(a)-

(b).




                                                 4
     Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 9 of 29




D.      Attorneys’ Fees

        22.       Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys’ fees and expenses through trial and any appeal.

        23.       Plaintiff is entitled to reasonable and necessary attorney’s fees pursuant to Texas

Civil Practice and Remedies Code Sections 38.001-38.003 because he is represented by an

attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed

before the expiration of the 30,h day after the claim was presented.

        24.       Plaintiff further prays that he be awarded all reasonable attorneys’ fees incurred in

prosecuting his causes of action through trial and any appeal pursuant to Sections 541.152 and

542.060 of the Texas Insurance Code.

                                             VII.
                                    CONDITIONS PRECEDENT

        25.       AH conditions precedent to Plaintiffs right to recover have been fully performed,

or have been waived by Defendant.

                                             VIII.
                                      DISCOVERY REQUESTS

        26.       Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after

service of this request, the information or material described in Rule 194.2(a)-(l).

        27.       You are also requested to respond to the attached interrogatories, requests for

production, and requests for admissions within fifty (50) days, in accordance with the instructions

stated therein.

                                                   IX.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Jose Garcia prays that, upon final hearing of

the case, he recover all damages from and against Defendant that may reasonably be established


                                                    5
  Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 10 of 29




by a preponderance of the evidence, and that Mr. Garcia be awarded attorneys’ fees through trial

and appeal, costs of court, pre-judgment interest, post-judgment interest, and such other and further

relief, general or special, at law or in equity, to which Mr. Garcia may show himself to be justly.

entitled.


                                              Respectfully submitted,

                                              Daly& Black, P.C.

                                              By:     Is/ David Herzen______
                                                      David Bergen
                                                      TBA No. 24097371
                                                      clberuen@dalvblack.coni
                                                      Richard D. Daly
                                                      TBA No. 00796429
                                                      rdal y@.da 1 vb I ack. com
                                                      ccts@dalyblaok.com
                                                      2211 Norfolk St., Suite 800
                                                      Houston, Texas 77098
                                                      713.655.1405—Telephone
                                                      713.655.1587—Fax




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Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 11 of 29




                                 ARNOLD & ITKTN LLP

                                 Bv:   /s/NocthM. Wexler_____
                                        Noah M. Wexler
                                        TBA No. 24060816
                                        n\vexler@amoldi tkin.com
                                        Rebecca L. Adams
                                       TBA No. 24098255
                                        radanisffiarnoklitkin.com
                                        Roland Christensen
                                        TBA No. 24101222
                                        rchri stensen@arnolditkin.com
                                        Adam Lewis
                                       TBA No. 24094099
                                       alewis@arnolditkin.com
                                        Christopher J. Balser
                                       TBA No. 24109155
                                       ibal5cr@aCUftl.diikin;co!n
                                       Jacob M. Karam
                                       TBA No. 24105653

                                       windstorroteainti® amolditkin.com
                                       6009 Memorial Drive
                                       Houston, Texas 77007
                                       713.222-3800—Telephone
                                       713.222-3850—Fax

                                       ATTORNEYS FOR PLAINTIFF
                                       JOSE GARCIA




                                   7
 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 12 of 29




               PLAINTIFF’S FIRST SET OF INTERROGATORIES,
         REQUESTS FOR PRODUCTION AND REQUESTS FOR ADMISSIONS

       COMES NOW Plaintiff in the above-styled and numbered cause, and requests that

Defendant (1) answer the following discovery' requests separately and fully in writing under oath

within 30 days of service (or within 50 days of service if the discovery was served prior to the date

an answer is due); (2) produce responsive documents to the undersigned counsel within the same

time period; and (3) serve its answers to these discovery requests within the same time period to

Plaintiff by and through his attorneys of record, Daly & Black, P.C, 221 I Norfolk St, Suite 800,

Houston, Texas 77098.


                                               Respectfully submitted,

                                               Daly& Black, P.C

                                              B v:    /s/ David Benicn_____ _
                                                       David Bergen
                                                       TBA No. 24097371
                                                       dberaen@dalvbiac-k.com
                                                       Richard D. Daly
                                                       TBA No. 00796429
                                                       vMy©dalyblack,com
                                                       ecfs@dal vblack .coin
                                                       2211 Norfolk St., Suite 800
                                                       Houston, Texas 77098
                                                       713.655.1405—Telephone
                                                       713.655.1587—Fax




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 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 13 of 29




                                             Arnold & itkin LLP

                                             Bv:    fs/NoahM. IVexler_____
                                                     Noah M. Wexler
                                                    TBANo. 24060816
                                                    mvex 1 er@a rtioi d i tki n. coin
                                                     Rebecca L. Adams
                                                    TBA No. 24098255
                                                    rndaros@arnoldltkln.eom
                                                     Roland Christensen
                                                    TBA No. 24101222
                                                     rchristensen@amolditkin.com
                                                     Adam Lewis
                                                    TBA No. 24094099
                                                    atewi s^moidiO^com
                                                    Christopher J. Balser
                                                    TBA No. 24109155
                                                    Msg^&mMS^BSSSSL
                                                    Jacob M. Karam
                                                    TBA No. 24105653
                                                    jkarani@arnoid|tkinxoin.
                                                    windstormteatn@amolditkin.com
                                                    6009 Memorial Drive
                                                    Houston, Texas 77007
                                                    713.222-3800—Telephone
                                                    713.222-3850—Fax

                                                     ATTORNEYS FOR PLAINTIFF
                                                     JOSE GARCIA


                                CERTIFICATE OF SERVICE

        1 hereby certify that I sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it when
it was served with the citation.

                                                    /.y/ David Haven
                                                    David Bergen




                                                2
Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 14 of 29




                                    INSTRUCTIONS


 A.    These Responses call for your personal and present knowledge, as well as the present
       knowledge of your attorneys, investigators and other agents, and for information
       available to you and to them.

 B.    Pursuant to the applicable rules of civil procedure, produce all documents responsive
       to these Requests for Production as they are kept in the usual course of business or
       organized and labeled to correspond to the categories in the requests within the time
       period set forth above at Daly & Black, P.C.

 C.    If you claim that any document or information which is required to be identified or
       produced by you in any response is privileged, produce a privilege log according to the
       applicable rules of civil procedure.

       1.   Identify the document’s title and general subject matter;
       2.   State its date;
       3.   Identify all persons who participated in its preparation;
       4.   Identify the persons for whom it was prepared or to whom it was sent;
       5.   State the nature of the privilege claimed; and
       6.   State in detail each and every fact upon which you base your claim for privilege.

 D.    If you claim that any part or portion of a document contains privileged information,
       redact only the part(s) or portion(s) of the document you claim to be privileged.

 E.    If you cannot answer a particular Interrogatory in full after exercising due diligence to
       secure the information to do so, please state so and answer to the extent possible,
       specifying and explaining your inability to answer the remainder and stating whatever
       information or knowledge you have concerning the unanswered portion.

 F.    You are also advised that you are under a duty to seasonably amend your responses if
       you obtain information on the basis of which:

       1. You know the response made was incorrect or incomplete when made; or
       2. You know the response, though correct and complete when made, is no longer true
          and complete, and the circumstances
Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 15 of 29




                                      DEFINITIONS

 A.    “Defendant,” “You,” “Your(s),” refers to Allstate Vehicle and Property Insurance
       Company, its agents, representatives, employees and any other entity or person acting
       on its behalf

 B.    “Plaintiff’ refers to the named Plaintiff in the above-captioned suit.

 C.    “The Property(ies)” refers to the property or properties located at the address(cs)
       covered by the Policy.

 D.    “The Policy” refers to the policy issued to Plaintiff by the insurer and at issue in this
       lawsuit.

 E.    “The Claim(s)” means the claim for insurance benefits submitted by Plaintiff and at
       issue in this lawsuit, or in a prior claim, as the context may dictate.

 F.    “Date of Loss” refers to the date(s) of loss identified in Plaintiffs live
       petition/complaint or other written or oral notice, or otherwise assigned to the claim by
       the insurer.

 G.    “Handle” or “Handled” means investigating, adjusting, supervising, estimating,
       managing, settling, approving, supplying information or otherwise performing a task
       or work with respect to the claim(s) at issue in this lawsuit, excluding purely ministerial
       or clerical tasks.

 H.    “Lawsuit” refers to the above styled and captioned case.

 I.    “Communication” or “communications” shall mean and refer to the transmission or
       exchange of information, either orally or in writing, and includes without limitation
       any conversation, letter, handwritten notes, memorandum, inter or intraoffice
       correspondence, electronic mail, text messages, or any other electronic transmission,
       telephone call, telegraph, telex telecopy, facsimile, cable, conference, tape recording,
       video recording, digital recording, discussion, or face-to-face communication.

 J.    The term “Document” shall mean all tangible things and data, however stored, as set
       forth in the applicable rules of civil procedure, including, but not limited to all original
       writings of any nature whatsoever, all prior drafts, all identical copies, all nonidentical
       copies, correspondence, notes, letters, memoranda of. telephone conversations,
       telephone messages or call slips, interoffice memoranda, intraoffice memoranda, client
       conference reports, files, agreements, contracts, evaluations, analyses, records,
       photographs sketches, slides, tape recordings, microfiche, communications, printouts,
       reports, invoices, receipts, vouchers, profit and loss statements, accounting ledgers,
       loan documents, liens, books of accounting, books of operation, bank statements,
       cancelled checks, leases, bills of sale, maps, prints, insurance policies, appraisals,
       listing agreements, real estate closing documents, studies, summaries, minutes, notes,


                                              4
Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 16 of 29




         agendas, bulletins, schedules, diaries, calendars, logs, announcements, instructions,
         charts, manuals, brochures, schedules, price lists, telegrams, teletypes, photographic
         matter, sound reproductions, however recorded, whether still on tape or transcribed to
         writing, computer tapes, diskettes, disks, all other methods or means of storing data,
         and any other documents. In all cases where originals, prior drafts, identical copies, or
         nonidentical copies are not available; “document” also means genuine, true and correct
         photo or other copies of originals, prior drafts, identical copies, or nonidentical copies.
         “Document” also refers to any other material, including without limitation, any tape,
         computer program or electronic data storage facility in or on which any data or
         information has been written or printed or has been temporarily or permanently
         recorded by mechanical, photographic, magnetic, electronic or other means, and
         including any materials in or on which data or information has been recorded in a
         manner which renders in unintelligible without machine processing.

 K.      The term “referring” or “relating” shall mean showing, disclosing, averting to,
         comprising, evidencing, constituting or reviewing.

 L.      The singular and masculine form of any noun or pronoun includes the plural, the
         feminine, and the neuter.

 M.      The terms “identification, « u identify,” and “identity” when used in reference to:

      1. Natural Persons: Means to state his or her full name, residential address, present or
         last known business address and telephone number, and present or last known position
         and business affiliation with you;
      2. Corporate Entities: Means to state its full name and any other names under which it
         does business, its form or organization, its state of incorporation, its present or last
         known address, and the identity of the officers or other persons who own, operate, or
         control the entity;
      3. Documents: Means you must state the number of pages and nature of the document
         (e.g. letter or memorandum), its title, its date, the name or names of its authors and
         recipients, its present location and custodian, and if any such document was, but no
         longer is, in your possession or control, state what disposition was made of it, the date
         thereof, and the persons responsible for making the decision as to such disposition;
      4. Communication: Requires you, if any part of the communication was written, to
         identify the document or documents which refer to or evidence the communication and,
         to the extent that the communication was non-written, to identify each person
         participating in the communication and to state the date, manner, place, and substance
         of the communication; and
      5. Activity: Requires you to provide a description of each action, occurrence, transaction
         or conduct, the date it occurred, the location at which it occurred, and the identity of all
         persons involved.

 N.      The term "Claim File" means the claim files and “field file(s),” whether kept in paper
         or electronic format, including but not limited to all documents, file jackets, file notes,
         claims diary or journal entries, log notes, handwritten notes, records of oral


                                                 5
 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 17 of 29




           communications, communications, correspondence, photographs, diagrams, estimates,
           reports, recommendations, invoices, memoranda and drafts of documents regarding the
           Claim.

   O.      The term "Underwriting File" means the entire file, including all documents and
           information used for underwriting purposes even if you did not rely on such documents
           or information in order to make a decision regarding insuring Plaintiffs Property.



                             NOTICE OF AUTHENTICATION

       You are advised that pursuant to Tex. R. Civ. P. 193.7, Plaintiff intends to use all
documents exchanged and produced between the parties, including but not limited to
correspondence and discovery responses during the trial of the above-entitled and numbered cause.
                                                                                       *




                                               6
 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 18 of 29




                   INTERROGATORIES TO DEFENDANT ALLSTATE

INTERROGATORY NO. 1:
Identify all persons answering or supplying any information in answering these interrogatories.'

       ANSWER:

INTERROGATORY NO. 2:
Identify all persons who were involved in evaluating Plaintiffs claim and provide the following
information for each person you identify:

       a.      their name and job title(s) as of the Date of Loss;
       b.      their employer; and
       c.      description of their involvement with Plaintiffs Claim.

       ANSWER:

INTERROGATORY NO. 3:
If you contend that the some or all of the damages to the Property were not covered losses under
the Policy, describe:

       a.      the scope, cause and origin of the damages you contend are not covered losses under
               the Policy; and
       b.      the term(s) or exclusion(s) of the Policy you relied upon in support of your decision
               regarding the Claim.

       ANSWER:

INTERROGATORY NO. 4:
State whether the initial estimate you issued was revised or reconciled, and if so, state what was
changed and who did it.

       ANSWER:

INTERROGATORY NO. 5:
If you contend that Plaintiff did not provide you with requested information that was required to
properly evaluate Plaintiffs Claim, identify the information that was requested and not provided,
and the dates you made those request(s).

       ANSWER:

INTERROGATORY NO. 6:
If you contend that Plaintiffs acts or omissions voided, nullified, waived or breached the Policy
in any way, state the factual basis for your contention(s).

       ANSWER:


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 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 19 of 29




INTERROGATORY NO. 7:
If you contend that Plaintiff failed to satisfy a condition precedent or covenant of the Policy in any
way, state the factual basis for your contention(s).

        ANSWER:

INTERROGATORY NO. 8:
identify the date you first anticipated litigation.
                                                  i
        ANSWER:

INTERROGATORY NO. 9:
State the factual basis for each of your affirmative defenses.

        ANSWER:

INTERROGATORY NO. 10:
If you contend that Plaintiff failed to provide proper notice of the claim made the basis of this
lawsuit, describe how the notice was deficient, and identify any resulting prejudice.

        ANSWER:

INTERROGATORY NO. 11:
If you contend that Plaintiff failed to mitigate damages, describe how Plaintiff failed to do so, and
identify any resulting prejudice.

        ANSWER:
                                                                 jt


INTERROGATORY NO. 12:
Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
depreciation, stating for each item the criteria used and the age of the item.

        ANSWER:




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  Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 20 of 29



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              REQUEST FOR PRODUCTION TO DEFENDANT ALLSTATE

REQUEST FOR PRODUCTION NO. 1
Produce a certified copy of all Policies you issued to Plaintiff for the Property that were in effect
on the Date of Loss.

 RESPONSE:


 REQUEST FOR PRODUCTION NO. 2
 Produce your‘complete Underwriting File for Plaintiffs policy of insurance with you.

 RESPONSE:


 REQUEST FOR PRODUCTION NO. 3
 Produce the complete Claim File including all documents, notes, comments, and communications
 regarding the Claim.

 RESPONSE:


  REQUEST FOR PRODUCTION NO. 4
• Produce all documents Plaintiff (or any other person) provided to you related to the Claim or the
  Property.

 RESPONSE:


 REQUEST FOR PRODUCTION NO. 5
 Produce all documents you provided to Plaintiff (or any other person) related to the Claim or the
 Property.

 RESPONSE:.


 REQUEST FOR PRODUCTION NO. 6
 Produce all documents (including reports, surveys, appraisals, damage estimates, proof of loss, or
 adjuster’s report(s)) referring to the Claim, the Property or damage to the Property.

 RESPONSE:




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 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 21 of 29




REQUEST FOR PRODUCTION NO. 7
Produce all communications between any of your claims personnel, claims handlers, field
adjusters, office adjusters, and their direct or indirect supervisors related to the investigation,
handling, and settlement of Plaintiffs Claim.

RESPONSE:


REQUEST FOR PRODUCTION NO. 8
Produce all written communications you sent to, or received from, any independent adjusters,
engineers, contractors, estimators, consultants or other third-parties who participated in
investigating, handling, consulting on, and/or adjusting Plaintiffs Claim.

RESPONSE:


REQUEST FOR PRODUCTION NO. 9
Produce all written and/or electronic communications you sent to, or received, from Plaintiff
and/or any other named insured on the Policy related to the Claim, the Property, or this Lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 10
Produce the personnel file for anyone you (or an adjusting firm) assigned to participate in
evaluating damage to Plaintiffs Property, including performance reviews/evaluations. This
request is limited to the three (3) years prior to the Date of Loss and one (I) year after the Date of
Loss.

RESPONSE:


REQUEST FOR PRODUCTION NO. 11
Produce your claim handling manual(s) (including operating guidelines) in effect on the Date of
Loss related to your claims practices, procedures and standards for property losses and/or wind
and hail storm claims, for persons handling claims on your behalf.

RESPONSE:


REQUEST FOR PRODUCTION NO. 12
Produce your property claims training manual and materials in effect on the Date of Loss, for
persons handling, investigating and adjusting claims.

RESPONSE:



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 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 22 of 29




REQUEST FOR PRODUCTION NO. 13
Produce all bulletins, notices, directives, memoranda, internal newsletters, publications, letters and
alerts directed to all persons acting on your behalf that were issued from six (6) months before and
after the Date of Loss related to the handling of wind or hail storm claims in connection with the
storm at issue.

RESPONSE:


REQUEST FOR PRODUCTION NO. 14
Produce the contract(s), agreement(s) and/or written understanding(s) with any independent
adjusters or adjusting firms who you retained to investigate, handle and/or adjust Plaintiffs Claim
on your behalf that were in effect on the Date of Loss.

RESPONSE:


REQUEST FOR PRODUCTION NO. 15
Produce the contract(s), agreement(s) and/or written understanding(s) with any engineers and/or
engineering firms you retained to investigate, handle and/or adjust Plaintiff s Claim on your behalf
that were in effect at the time of his/her investigation, handling and/or adjustment of Plaintiffs
claim, either pre or post-lawsuit.

RESPONSE:

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REQUEST FOR PRODUCTION NO. 16
Produce the “Pay sheet,” “Payment Log,” or list of payments made on Plaintiffs Claim, including
all indemnity, claim expenses and payments made to third-parties.

RESPONSE:


REQUEST FOR PRODUCTION NO. 17
Produce all estimates, reports or memoranda, including drafts of the same, created for you or by
any independent adjusters or adjusting firms in connection with the Claim.

RESPONSE:


REQUEST FOR PRODUCTION NO. 18
Produce all estimates, reports, or memoranda, including drafts of the same, created for you by any
engineers and/or engineering firms in connection with the Claim.

RESPONSE:


                                                  11
 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 23 of 29




REQUEST FOR PRODUCTION NO. 19
Produce all statements given by anyone, oral or written, to you or any of your agents, related to
Plaintiff’s Claim and/or any issue in Plaintiffs live petition

RESPONSE:


REQUEST FOR PRODUCTION NO, 20
Produce all documents you identified, referred to, or relied upon in answering Plaintiffs
interrogatories.

RESPONSE:


REQUEST FOR PRODUCTION NO. 21
Please produce the Claims Core Process Review in effect during the handling of the claim made
the basis of this lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 22
Please produce all versions of the Claims Core Process Review in effect for the three years
preceding the handling of the claim made the basis of this lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 23
For any changes made in the last three years to your Claims Core Process Review, please
produce all documents, supporting information, research, studies and communications regarding
such changes.

RESPONSE:


REQUEST FOR PRODUCTION NO. 24
Any requests for information by the Texas Department of Insurance to Defendant and any
response to such request by Defendant to the Texas Department of Insurance regarding claims
arising out of the August 25-29, 2017 storm, also known as Hurricane Harvey.

RESPONSE:


                                                12
 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 24 of 29




REQUEST FOR PRODUCTION NO. 25
All documents sent to, or received by Defendant from the Texas Department of Insurance, the
Texas Insurance Commissioner and/or their agents, relating to the handling of hail and/or
windstorm claims within the last three (3) years. This request includes all bulletins received by
Defendant.

RESPONSE;


REQUEST FOR PRODUCTION NO. 26
All advertisements, marketing or promotional items that addressed the handling of hail and/or
windstorm claims, published, used and/or distributed by Defendant in Harris County within the
last three (3) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 27
Your written procedures or policies that pertain to the handling of windstorm and/or hail claims
in Texas.

RESPONSE:


REQUEST FOR PRODUCTION NO, 28
For any changes made in the last three years to your written procedures or policies pertaining to
the handling of windstorm and/or hail claims in Texas, please produce all documents, supporting
information, research, studies and communications regarding such changes.

RESPONSE:


REQUEST FOR PRODUCTION NO. 29
Any document setting forth Defendant’s criteria and methodology used in determining whether
and how to apply depreciation on hail and/or windstorm claims in Texas.

RESPONSE:


REQUEST FOR PRODUCTION NO. 30
Any document setting forth Defendant’s criteria and methodology used in determining whether
to replace the drip edge on a roof when Defendant has estimated a roof replacement on a hail
and/or windstorm claim.

RESPONSE:




                                                 13
    Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 25 of 29




  REQUEST FOR PRODUCTION NO. 31
  Any document setting forth Defendant’s criteria and methodology used in determining the
  applicability of overhead and profit in the preparation of estimates for hail and/or windstorm
  claims in Texas.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 32
  All service agreements in effect at the lime of Plaintiffs claim between Defendant and any
  person(s) or entity(ies) who handled the claim made the basis of the lawsuit. - '

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 33
• Any document setting forth how Defendant compensated the adjuster and other individuals who
  handled Plaintiffs’ claim made the basis of this suit.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 34
  Any document related to performance-based pay or incentive-based pay programs that
  Defendant offers to adjusters, claim representatives, supervisors and managers involved in the
  handling of hail/and or windstorm claims.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 35
  Any document related to standards by which Defendant evaluates the performance of adjusters,
  claim representatives, supervisors and managers involved in the handling of hail/and or
  windstorm claims.

  RESPONSE:


  REQUEST FOR PRODUCTION NO. 36
  All documents reflecting the pre-anticipation of litigation reserve(s) set on the claim made the
  basis of this Lawsuit, including any changes to the reserve(s) along with any supporting
  documentation.

  RESPONSE:




                                                  14
 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 26 of 29




REQUEST FOR PRODUCTION NO. 37
Any document related to how Defendant issues pay raises and bonuses to adjusters, claim
representatives, supervisors and managers involved in the handling of hail/and or windstorm
claims.

RESPONSE:


REQUEST FOR PRODUCTION NO. 38
Any document referencing “customer-payment goals” sent by Defendant to claims office
managers regarding hail and/or windstorm claims in Texas during the time period of August
2016 through the present.

RESPONSE:


REQUEST FOR PRODUCTION NO. 39
Any document setting forth Defendant’s criteria and methodology used to determine when it
appropriate to invoke appraisal on a hail/windstorm claim in Texas.

RESPONSE:


REQUEST FOR PRODUCTION NO. 40
Any document setting forth Defendant’s criteria and methodology used to determine what items
contained within an appraisal estimate and/or appraisal award should be covered and paid for by
Defendant.

RESPONSE:


REQUEST FOR PRODUCTION NO. 41
Any and all communications between Defendant and any third party during the claims handling
process of the claim made the basis of this lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 42
Produce all documents evidencing any incentives, financial or otherwise, provided to adjusters
responsible for handling claims related to this loss, and this storm event.

RESPONSE:




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 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 27 of 29




REQUEST FOR PRODUCTION NO, 43
Produce all communications between any Allstate representative and any adjuster handling a
claim pertaining to this storm event, related to the company’s loss ratio.

RESPONSE:


REQUEST FOR PRODUCTION NO. 44
Please produce all documents related to Allstate’s Claims Core Process Review, including any
such training material provided to adjusters.

RESPONSE:


REQUEST FOR PRODUCTION NO, 45
Please produce all Performance Development Summaries and any other related personnel file
pertaining to any adjuster that handled the claim at issue here.

RESPONSE:


REQUEST FOR PRODUCTION NO. 46
Please produce all documents related to how adjusters and other related claims handlers are
promoted within Allstate.

RESPONSE:


REQUEST FOR PRODUCTION NO. 47
Please produce all records related to any data stored or generated by Colossus pertaining to this
storm event and claim.

RESPONSE:


REQUEST FOR PRODUCTION NO. 48
Please produce all records and documents about the identification, observation or description of
collateral damage in connection with the property at issue in this lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION NO. 49
To the extent that you claim a privilege over any documents, please provide a privilege log in
accordance with the Texas Rules of Civil Procedure.

RESPONSE:


                                                16
 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 28 of 29




              REQUEST FOR ADMISSIONS TO DEFENDANT ALLSTATE

REQUEST FOR ADMISSION NO. I:
Admitthat on Date of Loss the Property sustained damages caused by a windstorm.

       RESPONSE:

REQUEST FOR ADMISSION NO. 2:
Admit that on Date of Loss the Property sustained damages caused by a hailstorm

       RESPONSE:

REQUEST FOR ADMISSION NO. 3:
Admit that as of the Date of Loss the Policy was in full force and effect.

       RESPONSE:                                                             v«


REQUEST FOR ADMISSION NO. 4:
Admit that as of the Date of Loss all premiums were fully satisfied under the Policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 5:
Admit that the Policy is a replacement cost value policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 6:
Admit that the Policy is an actual cash value policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 7:
Admit that aside from the Claim at issue. Plaintiff has never previously submitted a claim to you
for damage to the Property.

       RESPONSE:




                                                 17
 Case 4:19-cv-00923 Document 1-7 Filed on 03/13/19 in TXSD Page 29 of 29




REQUEST FOR ADMISSION NO. 8:
Admit that you did not request a Sworn Proof of Loss from Plaintiff' i n connection with the
Claim at issue.

       RESPONSE:

REQUEST FOR ADMISSION NO. 9:
Admit that you did not request a Sworn Proof of Loss from any other named insured on the
Policy in connection with the Claim at issue.

       RESPONSE:

REQUEST FOR ADMISSION NO. 10:
Admit that Plaintiff timely submitted the Claim.

       RESPONSE:

REQUEST FOR ADMISSION NO. 11:
Admit that your decision to deny or partially deny Plaintiffs Claim was made in whole or in part
on the basis that third parties were responsible for causing damages to the Property.

       RESPONSE:

REQUEST FOR ADMISSION NO. 12:
Admit that Defendant’s decision to deny or partially deny Plaintiffs Claim was made in whole
or in part on the basis that the claimed damages are not covered by the Policy.

       RESPONSE:

REQUEST FOR ADMISSION NO. 13:
Admit that Defendant’s decision to deny or partially deny Plaintiffs Claim was made in whole
or in part on the. timeliness of the Claim’s submission.

       RESPONSE:




                                                   18
